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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


  UNITED STATES OF AMERICA,                        §
                                                   §
                                                   § CASE NUMBER 6:10-CR-00060-JDK-JDL
  v.                                               §
                                                   §
                                                   §
  CLIFTON WAYNE CRAVER,                            §
                                                   §


               ORDER ADOPTING REPORT AND RECOMMENDATION OF
                      UNITED STATES MAGISTRATE JUDGE

         The above entitled and numbered criminal action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate Judge John D.

 Love, which contains his proposed findings of fact and recommendations for the disposition of

 such action, has been presented for consideration. The parties have waived their objections to the

 Report and Recommendation.

         The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

 the findings and conclusions of this Court and ORDERS that Defendant Clifton Wayne Craver be

 sentenced to a period of imprisonment of 12 months and 1 day with no supervised release to follow.

 The Court further RECOMMENDS that Defendant serve his sentence at FCI Texarkana or FCI

 Forrest City, if available.

          So ORDERED and SIGNED this 5th           day of November, 2020.



                                                   ___________________________________
                                                   JEREMY D. KERNODLE
                                                   UNITED STATES DISTRICT JUDGE
